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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                      *

VS.                                           *       TDC 20-00033

WILLIAM GARFIELD BILBROUGH IV *

                  MOTION TO SEAL DEFENDANT’S
  SUPPLEMENT TO DEFENDANT’S REPLY TO GOVERNMENT’S RESPONSE TO
         DEFENDANT’S MOTION TO REVIEW DETENTION ORDER

       The Defendant, by and through his attorney, Robert C. Bonsib, Esq., and the law office of

MarcusBonsib, LLC, hereby requests that this Honorable Court grant the Defendant’s Motion to

Seal the Defendant’s Supplement to Defendant’s Reply to Government’s Response to

Defendant’s Motion to Review Detention Order and Exhibits In Support Thereof and To Set

Conditions of Release, as reasons in furtherance thereof, states as follows:

       1. The Defendant has filed a Supplemental Reply to the Government’s Response to the

           Defendant’s Motion to Review Detention Order and Exhibits in Support Thereof and

           to Set Conditions of Release that includes confidential information of a type and nature

           that is not appropriate for public disclosure.

       2. The Defendant is respectfully requesting that this Honorable Court order that the

           Defendant’s Supplemental Reply be sealed.

               WHEREFORE, the Defendant respectfully requests that this Honorable Court grant

           the relief prayed.
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                                               Respectfully submitted,

                                               /s/ Robert C. Bonsib

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                                               Trial Bar No. 00324


                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing motion was filed, via ECF, this 3nd day of

April, 2020 to all parties of record


                                               /s/ Robert C. Bonsib

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                                               ROBERT C. BONSIB
